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     GOVT OF US VI V. JPMORGAN CHASE                                           1

· · · · · · · · · · CONFIDENTIAL
·1· · · · UNITED STATES DISTRICT COURT FOR THE

·2· · · · · ·SOUTHERN DISTRICT OF NEW YORK

·3· · · · · ·CASE NUMBER:· 22-CV-10904-JSR

·4· · · · · · · · ·ACTION FOR DAMAGES

·5
· · ·GOVERNMENT OF THE UNITED STATES· · · )
·6· ·VIRGIN ISLANDS,· · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · · )
·7· · · · · · · · · · · · · · Plaintiff,· )
· · · · · · · · · · · · · · · · · · · · · )
·8· ·VS.· · · · · · · · · · · · · · · · · )
· · · · · · · · · · · · · · · · · · · · · )
·9· ·JP MORGAN CHASE BANK, N.A.,· · · · · )
· · · · · · · · · · · · · · · · · · · · · )
10· · · · · · · · · · · · · · ·Defendant. )
· · · · · · · · · · · · · · · · · · · · · )
11· ·-------------------------------------

12

13· · · · · · · · · · CONFIDENTIAL

14

15· · · · · ·VIDEO RECORDED DEPOSITION OF

16· · · · · · · · · ·DENISE GEORGE

17· · · · · · · ·MONDAY, JULY 17, 2023

18

19

20
· · ·REPORTED BY:
21
· · ·DENISE D. HARPER-FORDE
22· ·Certified Shorthand Reporter (CSR)
· · ·Certified RealTime Reporter (CRR)
23· ·Certified LiveNote Reporter (CLR)
· · ·Registered Professional Reporter (RPR)
24· ·Notary Public (FLORIDA)

25


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·1· ·just speak for what happened when I
·2· ·got there.
·3· · · · Q.· So when you got there and you
·4· ·felt strongly that you wanted to do
·5· ·something --
·6· · · · A.· Uh-huh.
·7· · · · Q.· -- what were the things you
·8· ·did?
·9· · · · A.· Well, what I did first -- and
10· ·keeping in mind that I first came, and
11· ·I have a complete department to run,
12· ·and there are crises going on in
13· ·various departments.· It's -- the
14· ·department is critically understaffed,
15· ·and there were many things.
16· · · · · · But what I did with respect to
17· ·that in hearing all these things is
18· ·first, as I indicated, I made a
19· ·general -- you know, just an inquiry
20· ·to find out do we have cases?· Do we
21· ·have a record of anyone complaining or
22· ·any -- anyone complaining about seeing
23· ·something that looked suspicious on
24· ·Little St. James or -- or with respect
25· ·to Jeffrey Epstein in particular.


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·1· · · · · · And I -- but mainly with law
·2· ·enforcement.· So I inquired with VIPD,
·3· ·you know, to see if there's anything,
·4· ·if they could look in their records
·5· ·and the Department of Justice.             I
·6· ·didn't do that with the federal
·7· ·authorities who were also there
·8· ·because they're -- you know, they're
·9· ·not going to disclose if there's a
10· ·pending investigation or anything like
11· ·that.
12· · · · · · But I did not inquire with
13· ·them, but -- and I found that
14· ·the first -- that's the first thing
15· ·that I did and found that there was --
16· ·there was nothing.· Everything I got
17· ·back was that they didn't have any
18· ·record of anything.
19· · · · · · And so that's the first thing.
20· ·And at that point in time, also what
21· ·had been transpiring was not only the
22· ·sex offender, the request that was --
23· ·we were dealing with, but then I came
24· ·to understand or I had the -- just say
25· ·it was my understanding upon


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·1· ·information and belief and that the
·2· ·federal authorities were investigating
·3· ·Jeffrey Epstein also, but -- and then
·4· ·later on there was the prosecution.
·5· · · · Q.· So there was a lot in that
·6· ·answer.· So let's unpack it.
·7· · · · A.· Yeah, but to be -- you asked
·8· ·me what did I do --
·9· · · · Q.· Sure.
10· · · · A.· -- after.
11· · · · Q.· So you reached out to DOJ and
12· ·the VIPD?
13· · · · A.· Yes, and I --
14· · · · Q.· That was one thing?
15· · · · A.· Yeah.
16· · · · Q.· And both of them came back and
17· ·reported that there was --
18· · · · A.· Right.
19· · · · Q.· -- what?
20· · · · A.· That they had seen -- in the
21· ·records, they had not seen any reports
22· ·of any complaints that came in.· That
23· ·would be something that, you know, of
24· ·course complaints that came in
25· ·regarding sexual assault trafficking


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·1· ·or, you know, that sort of thing would
·2· ·have been going on on the island.
·3· · · · Q.· And then what did you do after
·4· ·you found out it came back that there
·5· ·were no complaints?
·6· · · · A.· I just -- well, I guess
·7· ·personally I didn't -- well, what I
·8· ·did was at that point in time, I just
·9· ·started to really read a lot of the --
10· ·of the reports, and it's -- it's news
11· ·media reports.
12· · · · · · Which is fairly hearsay to
13· ·hear -- to just get the gist of what
14· ·is being said even though I know that
15· ·you can't -- I can't just rely on --
16· ·on news media.· I can't do that.
17· · · · · · You know, it's rumor,
18· ·innuendo.· But to see where they're
19· ·getting this information from and
20· ·what's happening because it became
21· ·even more of a curiosity for me and
22· ·thinking this is something we -- we
23· ·got to do something about, you know.
24· · · · · · I don't know what happened
25· ·then, but I can't sit here and hear


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·1· ·that all this happened, especially
·2· ·when under our statutes, sexual
·3· ·assaults and -- and child abuse are --
·4· ·have no statute of limitations.
·5· · · · · · So it wouldn't have been too
·6· ·late to do anything if we had solid
·7· ·evidence, because I can't go by
·8· ·innuendo.· I can't go by rumor.             I
·9· ·can't go by media reports and say,
10· ·Okay, you know, let's, you know, do an
11· ·investigation.
12· · · · · · And then I was also critically
13· ·short-staffed as well.· I didn't have
14· ·the resources either.· But it was
15· ·really where I was really
16· ·contemplating what can be done.
17· · · · · · But once learning or
18· ·understanding that the federal
19· ·authorities were investigating
20· ·Mr. Epstein and prosecuting
21· ·criminally, and there was -- there
22· ·might have been a criminal
23· ·investigation going on.
24· · · · · · That is something that I would
25· ·not do -- that it sort of preempts


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·1· ·going and doing something when once
·2· ·the federal authorities or any other
·3· ·authorities have started a criminal
·4· ·investigation or that prosecutors.
·5· · · · · · They made the arrest.· Then
·6· ·that's sort of under, I think it's
·7· ·called the First Forum Rule.· It's --
·8· ·it's like in respect to the other
·9· ·forum, that you do not -- you know, we
10· ·won't go and, you know, start up a
11· ·prosecution when there's one already
12· ·there.
13· · · · · · So it's been -- it pleased me
14· ·to see that something was being done
15· ·with law enforcement organization that
16· ·had the resources to be able to do it.
17· ·So once I learned that that was
18· ·happening.· Okay, then at least
19· ·something is being done.· There's a
20· ·prosecution.
21· · · · · · And then I was very -- you
22· ·know, try to be in-tuned with what it
23· ·is and what the charges were once he
24· ·was arrested, and looking forward to
25· ·seeing Jeffrey Epstein brought to


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·1· ·justice.· But also hearing more about
·2· ·what happened and what part Little St.
·3· ·James may have played in it.
·4· · · · Q.· How did you learn that a
·5· ·federal investigation was being
·6· ·done?
·7· · · · A.· I did not learn it for sure,
·8· ·but I -- I don't recall exactly how --
·9· ·there were certain questions that
10· ·might have been asked or something
11· ·that I -- I just sensed that there was
12· ·an investigation going on.
13· · · · · · And I can't -- and it's not
14· ·something that I could -- would even
15· ·disclose, of course, even if I knew.
16· ·But I sensed that one was going on.
17· · · · Q.· Questions asked by who?
18· · · · A.· I can't tell you that.· You
19· ·know, I mean, if there -- I just don't
20· ·recall exactly, but I think something
21· ·I read or something and in my mind I
22· ·said, Okay.· That means that the
23· ·federal authorities must be
24· ·investigating.
25· · · · · · That was my conclusion.· It


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